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                 UNITED STATES DISTRICT COURT
                  DISTRICT OF MASSACHUSETTS
                       BOSTON DIVISION



TYPEMOCK, LTD.,                     Case No.: 1:17-cv-10274-RGS

                Plaintiff,

     v.

TELERIK INC.,
                                    JURY TRIAL DEMANDED
                Defendant.




PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR LEAVE TO AMEND
                   ITS ANSWER AND COUNTERCLAIMS
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                                         INTRODUCTION

          Defendant Telerik, Inc. (“Defendant” or “Telerik”) moves to amend its pleading to add a

variety of counterclaims, leading with alleged inequitable conduct and monopolization. As is so

often the case with these types of counter-charges to infringement, they are asserted here,

without support of the crucial element of intent, as a distraction, to divert all momentum and

energy away from litigation on the merits. See generally Therasense Inc. v. Becton, Dickinson

and Co., 649 F.3d 1276, 1288-89 (Fed. Cir. 2011) (en banc).

          Telerik’s motion to amend is also untimely, made well after the August 18, 2017 deadline

for amending the pleadings (D.I. 35) and more than six months after having all of the

information referenced in its amendment. Defendant offers no excuse for this delay, but merely

argues that Plaintiff is somehow not prejudiced by this amendment, which is false. The question,

moreover, is not one of prejudice to Plaintiff, but rather diligence (or lack thereof) by Defendant.

Defendant has not been diligent in making its amendment, and its motion should be denied on

this ground alone.

          Beyond Defendant’s lack of diligence, Defendant’s proposed Amended Answer suffers

from numerous flaws, which render all of the proposed counterclaims and affirmative defenses

futile.

          The core of this motion is alleged inequitable conduct, an affirmative defense to

infringement, based on alleged fraud on the Patent Office. The defense of inequitable conduct

requires proof by clear and convincing evidence as to both (i) the “but for” materiality of the

alleged misrepresentations, and (ii) that the alleged misrepresentations were made to the Patent

Office with the deliberate intent to deceive. Inequitable conduct, because of its sweep and

potential collateral consequences, is prone to, and has a long history of, abuse. For that reason,
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the Federal Circuit has tagged it as the “‘atomic bomb’ of patent law” and “an absolute plague”

on this branch of litigation. See Therasense, 649 F.3d at 1288-89. As a result, the Federal Circuit,

whose law governs the pleading standard for inequitable conduct, sets a heightened pleading

standard for such charges. See generally Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312

(Fed. Cir. 2009).

       Defendant’s proposed counterclaim of inequitable conduct may immediately be seen as

deficient, in that it fails to adequately plead intent to deceive. Defendant must plead sufficient

allegations of underlying facts from which a court can infer that an identified individual knew of

withheld material information and withheld this information “with a specific intent to deceive”

the Patent Office. Exergen, 575 F.3d at 1328–29. Defendant’s allegations are vague and point

generally to “individuals associated with the filing and prosecution” of Plaintiff’s patents. The

only individual named in Defendant’s proposed counterclaims is Eli Lopian, the inventor of the

asserted patents and the CEO of Plaintiff, Typemock, Ltd. The most that Defendant has alleged

about Mr. Lopian is that he “knew or should have known” that certain software versions were on

sale in the U.S. Yet, the Federal Circuit has specifically stated that a “‘should have known’

standard does not satisfy [the] intent requirement” for inequitable conduct, which requires a

“specific intent to deceive the PTO.” Therasense, 649 F.3d at 1290. Nor are there any factual

allegations to the effect that Mr. Lopian understood the materiality of what he “knew or should

have known,” among other deficiencies in the pleading. Absent an adequate pleading of

deceptive intent, a pleading of inequitable conduct is subject to dismissal, and therefore

amendment to make such allegations would be futile.

       Telerik’s proposed Amended Answer also includes two separate counterclaims for

alleged antitrust violations pursuant to Section 2 of the Sherman Act. But any such claim under

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the Sherman Act requires an adequate pleading with regard to the relevant market in order to

proceed. The proposed Amended Answer is wholly conclusory on this score, and indeed

completely implausible in its contrived market definition.

       Finally, Defendant argues that it is a third-party beneficiary

                by virtue of a      agreement between Plaintiff and Microsoft Corporation (the

“Microsoft Agreement”), and as such is

            . Defendant’s allegations, however, fail to allege facts under which Telerik could

plausibly                                    . Telerik's motions to add a claim and defense with

respect to the Microsoft Agreement should therefore also be denied.


                                     LEGAL STANDARD

   1. Timeliness of Amendment

       After a scheduling order’s deadline for filing an amendment has passed, pursuant to Rule

16(b)(4) of the Federal Rules of Civil Procedure, an amendment can only be made for “good

cause.” Trans-Spec Truck Serv., Inc. v. Caterpillar, Inc., 524 F.3d 315, 327 (1st Cir. 2008). The

purpose of limiting the period for amendment is to assure “that at some point both the parties and

the pleadings will be fixed.” Adv. Comm. Notes to the 1983 Amendments to Fed. R. Civ. P.

16(b). This “good cause” requirement contrasts with an otherwise liberal standard of Rule 15(a),

for pre-deadline amendments.

       “Rule 16(b)’s ‘good cause’ standard emphasizes the diligence of the party seeking the

amendment.” O’Connell v. Hyatt Hotels of P.R., 357 F.3d 152, 155 (1st Cir. 2004). Prejudice to

the opposing party remains relevant but is not the dominant criterion. Id. “This standard focuses

on the diligence (or lack thereof) of the moving party more than it does on any prejudice to the


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party-opponent.” Steir v. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir. 2004); see also Cruz v.

Bristol-Myers Squibb Co., PR, Inc., 699 F.3d 563, 569-70 (1st Cir. 2012) (affirming denial of

two motions to amend complaint with unexplained three-month delay and further six-month

delay).

          Under both Rules 15(a) and 16(b)(4), however, the Court “enjoys significant latitude in

deciding whether to grant leave to amend” and the Court’s decision receives deference “if any

adequate reason for the denial is apparent on the record.” U.S. ex rel. Gagne v. City of Worcester,

565 F.3d 40, 48 (1st Cir. 2009) (quotations omitted). Reasons for denying leave to amend

include, among others, futility of the amendment. Id. Futility is determined based on the same

standard as a motion to dismiss. See D’Agostino v. ev3, Inc., 845 F.3d 1, 6 (1st Cir. 2016)

(futility in the context of a motion to amend “means that the complaint, as amended, would fail

to state a claim upon which relief could be granted.”)

          Regarding affirmative defenses, Rule 12(f) provides that “[t]he court may strike from a

pleading an insufficient defense.” Rule 12(f) is governed by the same standards as a 12(b)(6)

motion. See Bryan Corp. v. Chemworth, Inc., No. 12–10446–MLW, 2013 WL 6489785, at *1

(D. Mass Dec. 9, 2013).

   2. Inequitable Conduct

          The adequacy of an inequitable conduct pleading is a question of Federal Circuit Law.

See, e.g., Cent. Admixture Pharmacy Servs., Inc. v. Advanced Cardiac Sols., P.C., 482 F.3d

1347, 1356 (Fed. Cir. 2007). The Federal Circuit’s en banc decision in Therasense tightened the

standards for inequitable conduct. In so doing, the Federal Circuit specifically chose to “redirect

a doctrine that has been overused to the detriment of the public.” Therasense, 649 F.3d at 1290.



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       Under Rule 9(b) and Federal Circuit precedent, specific allegations are required to

adequately plead inequitable conduct. “[A] pleading of inequitable conduct under Rule 9(b) must

include sufficient allegations of underlying facts from which a court may reasonably infer that a

specific individual

       (1) knew of the withheld material information or of the falsity of the material

       misrepresentation, and

       (2) withheld or misrepresented this information with a specific intent to deceive the

       PTO.”

Exergen, 575 F.3d at 1328–29. These allegations must include “identification of the specific

who, what, when, where, and how of the material misrepresentation or omission committed

before the PTO.” Id. at 1327.

       Allowing improperly pleaded inequitable conduct claims to proceed would “effectively

eviscerate Therasense’s test for mens rea and reinflict the plague of patent unenforceability

based on the thinnest of speculation regarding the applicant’s putative mental state.” 1st Media,

LLC v. Elec. Arts, Inc., 694 F.3d 1367, 1375 (Fed. Cir. 2012). For an adequate pleading,

Defendant must allege sufficient facts to “state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007)). Well pled facts must be accepted as true on a motion to dismiss, but such

acceptance is “inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Id.




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                                           ARGUMENT

   1. Telerik Has Not Justified its More Than Six-Month Delay in Making This Motion

       Telerik admits in its brief that by October 3, 2017 it had all of the information on which it

bases its proposed amendment. (Def. Telerik’s Mem. in Supp. of its Mot. for Leave to Am. its

Answer and Countercls. (D.I. 55) (“Motion”) at 3.) Despite this fact, Telerik waited six and a

half months to file the instant motion seeking leave to amend. Telerik only argues why it

allegedly could not have known this information prior to the October 2-3, 2017 timeframe. (Id.)

Telerik gives no reason whatsoever for its six-and-a-half-month delay between gaining this

information and making this motion. This unexplained delay of many months dooms Telerik’s

motion to amend. See O’Connell, 357 F.3d at 155.

       The focus of the Rule 16(b)(4) “good cause” standard is the diligence (or lack thereof) of

the moving party. Steir, 383 F.3d at 12. Telerik ignores this focus and fails to explain its lack of

diligence. As stated by Telerik, “[t]he Court’s discretion on whether good cause exists ‘should be

exercised on the particular facts and circumstances of the case.’” (Motion at 2 (quoting Marical

Inc. v. Cooke Aquaculture Inc., No. 14-cv-00366-JDL, 2017 WL 3254693, at *4 (D. Me. July 31,

2017)). In the Marical case, the information for the proposed amendment was learned by the

defendant during an inventor deposition on March 21, 2017, and the motion to amend was filed

on April 21, 2017 – within a month of learning this information. The defendant in Marical did

not wait six months to file its motion, as Telerik has done here. Further, as stated by the court in

Marical, “it was appropriate for Defendants to depose [the inventor] before advancing a claim of

inequitable conduct.” Marical, 2017 WL 3254693, at *6 (citing Baxter Int’l, Inc. v. CareFusion

Corp., No. 15-CV-9986, 2017 WL 1049840, at *9 (N.D. Ill. Mar. 20, 2017)).



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          According to Telerik, “[a]ny gap in time between Typemock’s provision of this

information and the filing of the instant motion is solely due to Typemock’s delay in disclosing

this information to Telerik.” (Motion at 3.) This is the sole argument Telerik advances for its six-

month delay in making the instant motion and is a non sequitur. Receiving this information in

early October 2017 did not cause the six-month delay. Telerik’s own lack of diligence did.1

          Telerik alleges a lack of prejudice to Plaintiff here, but that is incorrect. The claims that

Telerik is attempting to belatedly add to this action are of a type that are notorious for

multiplying patent litigation proceedings, including discovery on matters not pertinent to the

claims or defenses currently included in the case. Further, the parties agreed to review and

produce all or substantially all documents in this case by the end of April, which review

Typemock has substantially completed, and which was a significant undertaking. Adding claims

and defenses at this late stage of documentary discovery, which will require new document

requests, would severely prejudice Plaintiff.

          Because Telerik has not justified its delay in making the instant motion and (less so)

because Typemock will be prejudiced by the proposed amendment, Telerik’s motion should be

denied.




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  The information that Telerik has now chosen to focus on was not, for example, buried in a large
production. Typemock produced a single, 10-page document (the Microsoft license agreement)
on October 2 (see Anderson Decl., Ex. 3 (D.I. 56-3)) and served amended interrogatory
responses on October 3 (see Anderson Decl., Ex. 2 (D.I. 56-2)).

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   2. The Charge of Inequitable Conduct Fails to Sufficiently Plead Knowledge or Deceptive
       Intent (Counts VII & VIII and Affirmative Defense ¶ 9)

       As the Federal Circuit has mandated, an inequitable conduct pleading must include the

“who” of the alleged conduct. However, Telerik has failed to specifically identify who withheld

the allegedly material information.

       Telerik has repeatedly stated that “Typemock, by and through individuals associated with

the filing and prosecution of the [patents], made material misstatements or willful material

omissions,” and that “neither Mr. Lopian nor anyone else associated with the filing and

prosecution” of the applications disclosed the allegedly material information. (See Telerik’s

Proposed Am. Answer (D.I. 56-1) (“Am. Answer”) ¶¶ 21, 23.) It is unclear from the proposed

amendment whether Telerik is accusing Mr. Lopian of a failure to disclose information that Mr.

Lopian knew to be material and contrary to his application being granted a patent, or whether

Telerik is accusing the one or more “individuals associated with the filing and prosecution” of

the patents in question of failing to disclose to the Patent Office material information that Mr.

Lopian supposedly may have disclosed to such individuals.

       Assuming that Telerik is accusing Mr. Lopian (the only individual actually named in the

proposed amendment) of failure to disclose the allegedly material information, the proposed

amendment is insufficient on its face with regard to intent. A pleading of inequitable conduct

“must include sufficient allegations of underlying facts from which a court may reasonably infer

that a specific individual . . . (1) knew of the withheld material information . . . and (2) withheld

or misrepresented this information with a specific intent to deceive the PTO.” Exergen, 575 F.3d

at 1328–29.




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       It is impossible to discern Telerik’s theory of inequitable conduct from the proposed

pleading. The pleading does not specify who is alleged to have committed the inequitable

conduct – whether Mr. Lopian deliberately withheld information from the attorney(s)

prosecuting the patent applications in question – or whether Mr. Lopian disclosed material

information to his attorney(s) and that the (as-yet unnamed) attorney(s) made the deliberate

decision to withhold this information. The entire basis is left unstated in Telerik’s allegations.

Yet neither hypothesis necessarily follows from the facts alleged.

       The most that Telerik alleges regarding Mr. Lopian’s knowledge of the alleged on-sale

activity is the repeated formulaic mantra that “Mr. Lopian, knew or should have known that early

versions of Typemock’s software that were on sale or in public use prior to the earliest critical

date to which [Typemock’s patent applications were] entitled may have been capable of

operating in accordance with the purported inventions claimed [therein].” (Am. Answer ¶¶ 23,

25, 29, 36, 38, 40, 42, 44, 46, and 48.) In each case, the allegation recites the words “or should

have known.” However, as stated by the Federal Circuit “[a] finding that the misrepresentation or

omission amounts to gross negligence or negligence under a ‘should have known’ standard does

not satisfy this intent requirement.” Therasense, 649 F.3d at 1290 (citing Kingsdown Med.

Consultants, Ltd. v. Hollister Inc., 863 F.2d 867, 876 (Fed. Cir. 1988)). “In a case involving

nondisclosure of information, clear and convincing evidence must show that the applicant made

a deliberate decision to withhold a known material reference.” Molins PLC v. Textron, Inc., 48

F.3d 1172, 1181 (Fed. Cir. 1995).

       At most, the only relevant allegations regarding Mr. Lopian plausibly supported by the

pleaded facts are that he was aware or should have been aware of the sales activity in question.

There are no allegations from which it can be inferred that Mr. Lopian knew of the alleged

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materiality of that information to patentability, or indeed even knew that there was such a thing

as an on-sale bar under U.S. patent law. There is no allegation that Mr. Lopian himself withheld

information from anyone, just that the information did not get to the patent examiner.

        As for the other un-named individuals referred to in the proposed pleading as having been

associated with patent prosecution, there is no allegation as to what, if anything, Mr. Lopian

might have informed them about regarding any on-sale activity. There is no factual basis pleaded

for even imputing any improper intent to those individuals. What one person may have told the

other and/or failed to report is completely left to speculation, as is their intent in doing so or

failing to do so.

        Indeed, there is nothing whatsoever in Telerik’s allegations regarding intent. Telerik

states only – repeatedly and conclusorily – that information was withheld “with . . . deceptive

intent.” Telerik’s repeating of this statement a full ten times in its proposed pleadings does not

make it any less conclusory. There are no facts from which one can plausibly infer intent from

Telerik’s proposed Amended Complaint. “A reasonable inference is one that is plausible and that

flows logically from the facts alleged, including any objective indications of candor and good

faith.” Exergen, 575 F. 3d at 1329 n.5. But there are no facts here from which one can make such

an inference.

        According to the Federal Circuit, proving that an applicant knew of a reference, should

have known of its materiality, and failed to disclose the reference to the PTO is insufficient on its

own to prove a specific intent to deceive. Therasense, 649 F.3d at 1290. That is the most that can

be inferred from Telerik’s allegations, though even that is unclear. Per Therasense, the law is that

there is no legal shortcut to presume deceptive intent from the bare fact that a disclosure was not

made, yet that is what this proposed pleading would ask the Court to do. It is essential that the

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requisite intent be supported by evidence that would support a necessary inference, with a

corresponding obligation to plead such facts.

       In sum, at a minimum, the proposed amended answer fails to plead facts to plausibly

support an allegation of deceptive intent in withholding material information. Telerik’s proposed

inequitable conduct pleading therefore cannot be allowed. Therefore, Telerik’s two separate

counterclaims and its affirmative defense of inequitable conduct must be deemed futile and leave

to assert them denied.

   3. The Proposed Amended Answer Fails to Plead Facts Defining the Relevant Market
       Alleged to Have Been Monopolized (Counts V & VII)

       The Court should think long and hard about whether there is truly a monopolization claim

here before opening the gates for this type of protracted litigation.

       An antitrust counterclaim, especially a claim for alleged monopolization, is another type

of claim most certain to balloon discovery and cost in patent litigation. An antitrust claim often

reflexively follows a defense of inequitable conduct, as the left foot follows the right. But as

Telerik's own cited authority amply establishes, not every patent confers monopoly power. It is

always “necessary to appraise the exclusionary power of the illegal patent claim in terms of the

relevant market for the product involved.” Walker Process Equip., Inc. v. Food Mach. & Chem.

Corp., 382 U.S. 172, 177 (1965).

       Indeed, a plaintiff must allege sufficient facts in order to state each element of the

antitrust violation, including the relevant market and every other element. See C.R. Bard, Inc. v.

Med. Elecs. Corp., 529 F. Supp. 1382, 1389 (D. Mass. 1982); Gilbuilt Homes, Inc. v. Cont’l

Homes of New England, a Div. of Wylain, Inc., 667 F.2d 209, 211 (1st Cir. 1981) (affirming

dismissal of Section 2 claim because of “material omission” of pleadings of “facts defining the

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market”). “To establish monopolization or attempt to monopolize a part of trade or commerce

under s 2 of the Sherman Act, it would [] be necessary to appraise the exclusionary power of the

([accused party’s] conduct) in terms of the relevant market for the product involved. Without a

definition of that market there is no way to measure [the accused party’s] ability to lessen or

destroy competition.” Id. at 177. “The market for a product must be defined not by focusing on a

single factor alone but by evaluating the reasonable limits of that product’s effective competition

with other products.” George R. Whitten, Jr., Inc. v. Paddock Pool Builders, Inc., 508 F.2d 547,

552 (1st Cir. 1974) (citing Brown Shoe Co., Inc. v. United States, 370 U.S. 294, 326 (1962);

United States v. E. I. duPont de Nemours & Co., 353 U.S. 586, 593 (1957); Standard Oil Co. v.

United States, 337 U.S. 293, 299 n.5) (1949)). “Such limits are drawn according to the cross-

elasticity of demand for the product in question— the extent to which purchasers will accept

substitute products in instances of price fluctuation and other changes.” Whitten, 508 F.2d at 552.

“[W]hen determining if a complaint sufficiently pleads the existence of a monopoly in a market,

district courts require specific economic data such as defendant’s market share, market trends,

entry barriers, geographic market and the defendant’s economic power in that market.” Aldabe v.

Cornell Univ., No. CV 16-12268-NMG, 2017 WL 5178783, at *4 (D. Mass. Nov. 7, 2017)

(citing CCBN.Com, Inc. v. Thomson Fin., Inc., 270 F.Supp.2d 146, 157 (D. Mass. 2003)).

       Moreover, Telerik fails to plead the requisite facts to support a claim under Section 2 of

the Sherman Act.

       First, the monopolization claims here depend on the viability of the other claims being

asserted. The monopolization claims can only be asserted here if Telerik has sufficiently pleaded

what it alleges as the underlying acts of monopolization, (i) that the patents in question were

obtained by fraud, and/or (ii) that Typemock deliberately proceeded with this case when it “knew

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or should have known” that                                                                     .2 As

shown elsewhere in this brief, Telerik has not met the pleading threshold as to either such

predicate.

          Second, Telerik has failed to adequately plead the relevant antitrust market. Telerik has

self-declared the market in question to be an extremely limited one – a supposed economic

“market” for a “unit testing software product that has private mocking capabilities” – with no

further description or explanation (Am. Answer ¶ 62.) This bare statement falls far short of the

required facts for defining a relevant market. This is not only a purported single-product market,

but one based on a single attribute of a single product. The assertion that such an artificially

defined market, tailored to Telerik’s desired allegations, actually exists in the real world is pure

pretense. There is absolutely no discussion in the proposed pleading of how product capabilities

are typically grouped together for sale, potential substitutes, competition, or elasticity of demand.

There are no allegations about the size of the market or the market share of the participants. The

pleading is insufficient on its face.

          Worse yet, Telerik presents self-contradictory statements about the number of parties in

the alleged market. Telerik pleads that “Typemock and Telerik are the only two companies that

offer unit testing software with private mocking capabilities.” (Am. Answer ¶¶ 107, 112

(emphasis added).) Telerik separately pleads that “Typemock and Telerik are, if not the only

two companies that offer a unit testing software product that has private mocking capabilities,

provide the great majority of such products available in the market.” (Id. ¶ 62 (emphasis


2
    The pleading in this regard is wholly conclusory. Telerik does not allege that prior to this
    motion it even so much as raised with Typemock the issue of a purported
                                    .

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added).) Telerik separately pleads that Typemock “intends to continue to attempt to enforce” its

patents, which would allegedly “have a chilling effect on companies’ decisions to continue

offering unit testing software with private mocking capabilities.” (Id. ¶ 80 (emphasis added).)

Telerik cannot plead this every which way. The allegations of “monopolization” are also in

conflict with other portions of the same pleading, which note that



                                      (likely a much broader one) that actually is relevant.3

       Further, Telerik alleges that “[t]he relevant geographic market is worldwide.” (Id. ¶ 63.)

It is unclear how a worldwide market could possibly be affected by U.S. patents, and Telerik

makes no such allegations. Therefore, even if the Court accepted that Telerik’s alleged market

was properly pled (which it is not), there is no pleading that the asserted patents, let alone the

specific patent claims at issue in this case, provide Telerik with market power in the “worldwide”

alleged market for unit testing software with private mocking capabilities. There are no

allegations about the scope of the worldwide market, how the U.S. market fits within the


3
 Similarly, the Court can take notice that Telerik has asserted to this Court in its Markman brief
herein, that
        “[t]he accused product, Telerik’s JustMock, is available as part of Telerik’s DevCraft
        platform, a toolkit including .NET and JavaScript components and tools for the
        development and testing of modern and high-performance applications. DevCraft is
        available in multiple versions, each of which bundles several products together,
        dependent on a user’s needs. Users most commonly receive access to Telerik’s
        JustMock product along with purchase of a DevCraft bundle”
(D.I. 60, at 1-2 (emphasis added)) - showing that Telerik itself does not believe in the absurdly
narrow market definition set forth in the present motion, but rather views the market in which it
actually competes as being the broader market for software development utility software. Put
another way, Telerik itself caters to buyers who view themselves in the market for a broader
package than the one Telerik advocates for its market definition. Further details, should the Court
desire them, are readily available on Telerik's web site: https://www.telerik.com/devcraft

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       Merely pleading these references to a                       is not sufficient to establish



                       5



       As recited in the pleadings herein, the allegations in this case include examples in which

Telerik uses its own software, which in itself is alleged (by Typemock) to completely satisfy

each and every limitation of the asserted claims, to then act upon another piece of software,

which could be a Microsoft library or operating system routine (or anything else).

       The Microsoft routine may be the subject that the Telerik software acts upon - in that the

Microsoft routine is ultimately “mocked.” But the alleged infringement lies entirely in how

Telerik's software controls what is mocked. For an analogy, the right to use a target does not

confer any right to use a patented gun that happens to shoot at that target. A license for the target

does not amount to a license for the gun.6




5
  In one example to this effect, Telerik’s proposed pleading states that “JustMock is unit testing
software with private mocking capabilities that is specifically designed to work with Microsoft’s
.NET framework technology. JustMock does not function for its intended purpose without resort
to Microsoft .NET and other Microsoft-provided technology.” (Am. Answer ¶ 70.) This is
insufficient. The mere “dependency” of JustMock on Microsoft software,




                                                       . The mere dependency of JustMock on
external Microsoft functionality is completely irrelevant.

6
  By way of further example, “MSCorlib” is mentioned only once in the Complaint, appearing in
a quotation excerpted from Telerik’s documentation, explaining that “JustMock also supports
mocking of all classes and methods included in the MSCorlib assembly . . . .” (See Compl. (D.I.
1) (“Compl.”) ¶ 20.) JustMock’s support for mocking MSCorlib is
                merely one example of what Telerik alleges its infringing product can mock.

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        Telerik’s pleading in fact completely fails to

                                                                                     . All it says

is in this regard is the following:




(Am. Answer ¶ 126 (emphasis added).)




            nor does the proposed pleading allege that it does.

Microsoft’s .NET Framework is mentioned nowhere in the Complaint, while “DateTime.Now” is
discussed in paragraphs 12, 21, and 22. Paragraph 12 concerns Telerik’s copying of Typemock’s
product, not anything from Microsoft, giving an example showing the similarity in how
Typemock’s and Telerik’s products may be used to mock other software, for example, Microsoft
routines. Paragraphs 21 and 22 reproduce and discuss an excerpt of code provided in Telerik’s
documentation, which code happens to use the “DateTime.Now” function, again as the object to
be mocked. (See Compl. ¶ 21, 22.)


                          (See Compl. ¶ 22 (“Indeed, the ‘Arrange’ and ‘Returns()’ functions
employed by JustMock to implement the claimed functionality are direct ripoffs of Typemock
Isolator’s API”) (emphasis added).)

Although an identical analysis also holds true for Typemock’s Initial Claim Charts referenced in
the Amended Answer, Telerik makes only bare allegations concerning the Initial Claim Charts,
without any factual support by citing thereto. (See Am. Answer ¶¶ 69, 126.) Such “allegations
are conclusory and not entitled to be assumed true” (Iqbal, 1556 U.S. at 681) and therefore,
though without merit, need not be further addressed.

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       These allegations are nothing more than conclusory generalities,



                                                            . Telerik has not plausibly alleged, as

characterized by Telerik, that



                      ” (Am. Answer ¶ 55.) This failure



                      renders the proposed amendment futile.7 Leave to assert the breach of

contract counterclaim must therefore be denied.

    5. Telerik’s State Law Claim Fails Because Telerik’s Defenses are not Even Properly Pled
       (Count X)

       Telerik alleges that the current lawsuit is “baseless” (Am. Answer ¶ 133) and therefore

that its prosecution is actionable under Massachusetts law. To begin with, the Court should not

lose sight of the fact that Telerik has not been heard to support any argument that it does not

practice the asserted claims. Telerik’s defenses in its proposed Amended Answer, which go only

to enforceability of the asserted patents and

           are not even properly pled. Absent a viable pleading of unenforceability or deliberate

disregard of a license, which has not as yet been done, there is little that stands between Telerik

and a finding of infringement. Without such a plausible pleading of unenforceability, Telerik has


7
  Nor,                                                         does the proposed pleading set
forth facts to show even a mere breach of contract. The proposed pleading cites

                                         The proposed amendment does not allege that any such
evidence has or will be introduced.

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no basis at this time for alleging unfair trade practices and its counterclaim for MASS. GEN.

LAWS CH. 93A § 11 is futile. Leave to assert the state law claim must therefore be denied.


                                        CONCLUSION

       For the foregoing reasons, Telerik’s motion for leave to amend its answer should be

denied. Telerik has taken an unexplained and unjustified six months to make this motion.

Further, Telerik’s proposed counterclaims and affirmative defenses are all futile.



Dated: April 26, 2018

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                                CERTIFICATE OF SERVICE

       On this 26th day of April, 2018, I certify that I caused a copy of Plaintiff Typemock,

Ltd.’s Opposition to Defendant’s Motion for Leave to Amend its Answer and Counterclaims to

be served upon the below-listed counsel of record for Defendant via ECF and email.



Dated: April 26, 2018

s/ Ronald Abramson
Ronald Abramson

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